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                                     SETTLEMENT AGREEMENT AND RELEASE

                   This Settlement Agreement and Release (the “Agreement”) is entered into by and between
            Rakin Subhan (“Subhan”), Moin Mahbub (“Mahbub”), David Kay (“Kay”), Ashley Cleator
            (“Cleator”), and James Hicks (“Hicks”) (hereinafter, the “Named Plaintiffs”), and Harris Roth
            (“Roth” or “Opt-In Plaintiff”) (Named and Opt-In Plaintiffs together, “Plaintiffs”), on behalf of
            themselves and a class and collective of individuals allegedly similarly-situated that they seek to
            represent, and Simon Auerbacher (“Auerbacher”), Ram Destinations Miami LLC (“Ram
            Destinations”) and Ram Caterers of Old Westbury, LLC (“Ram Caterers”) (collectively hereinafter
            “Defendants”) (“Plaintiffs” and “Defendants” are hereinafter referred to as the “Parties”).

            1.       RECITALS AND BACKGROUND

                    WHEREAS, on November 13, 2020, the Named Plaintiffs filed a Collective and Class
            Action Complaint against Defendants in the United States District Court for the Eastern District
            of New York asserting various claims under the Fair Labor Standards Act (“FLSA”) and New
            York Labor Law (“NYLL”) for Defendants’ alleged failure to pay them the minimum wage,
            overtime, tips, spread of hours pay, and to provide certain wage notices and wage statements to
            them and all other employees who are allegedly similarly-situated bearing index no. 20-cv-5541
            (the “Litigation”);

                    WHEREAS, on December 7, 2020, Plaintiffs filed an amended complaint that added a
            claim that Defendants improperly pooled tips of the Plaintiffs;

                    WHEREAS, Roth filed a Consent to become a Party Plaintiff and Join Lawsuit Form,
            joining the Litigation as an opt-in plaintiff on May 17, 2021;

                  WHEREAS, on July 23, 2021, Plaintiffs filed a motion seeking leave to file a second
            amended complaint adding Debra Auerbacher and Ram & MD Hospitality as parties;

                     WHEREAS, on October 20, 2021, Plaintiffs requested to withdraw their motion for leave
            to file a second amended complaint, which was approved by Order of the Court on October 27,
            2021;

                   WHEREAS, in litigating the Plaintiffs’ claims, the Parties engaged in substantial
            discovery, including reviewing hundreds of payroll documents exchanged by the Parties, analyzing
            personnel documents, wage notices and business records;

                    WHEREAS, Defendants deny all the allegations made by the Plaintiffs relating to their
            claims in the Litigation and deny any and all liability and damages to Plaintiffs and the class and
            collective they seek to represent, with respect to the alleged facts or causes of action asserted in
            the Litigation;

                    WHEREAS, on November 15, 2021, the Parties attended a full day mediation with Martin
            Scheinman, Esq. during which the Parties agreed to a settlement in principle of Plaintiffs’
            (including those of the putative class and collective) claims;


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                    WHEREAS, without admitting or conceding any liability or damages whatsoever and
            without admitting that wages, gratuities, and/or other amounts improperly were withheld from any
            of their employees, Defendants have agreed to resolve the Litigation on the terms and conditions
            set forth in this Agreement, to avoid the burden, expense, and uncertainty of continuing the
            Litigation;

                    WHEREAS, solely for the purpose of settling this Litigation, and without admitting any
            wrongdoing or liability, Defendants have agreed, for settlement purposes only, to class
            certification;

                     WHEREAS, Class Counsel has analyzed and evaluated the merits of the claims made
            against Defendants in the Litigation, and the impact of this Agreement on the Plaintiffs and the
            Class Members, and based upon Class Counsel’s analysis and evaluation of a number of factors,
            and recognizing the substantial risks of continued litigation, including the possibility that, if not
            settled now, litigation might not result in any recovery whatsoever, or might result in a recovery
            that is less favorable and that would not occur for several years, Class Counsel is satisfied that the
            terms and conditions of this Agreement are fair, reasonable and adequate and that this Agreement
            is in the best interest of the Class;

                  WHEREAS, the purpose of this Agreement is to settle fully and finally all Released Claims
            between the Plaintiffs, the Class Members, and Defendants; and,

                   NOW THEREFORE, in consideration of the mutual covenants and promises set forth in
            this Agreement, as well as the good and valuable consideration provided for herein, the Parties
            hereto agree to a full and complete settlement of the Litigation on the following terms and
            conditions:

            1.       DEFINITIONS

                     The defined terms set forth in this Agreement have the meanings ascribed to them below.

            1.1      Agreement. “Agreement” means this Settlement Agreement and Release.

            1.2      Alternative Minimum Benefit. “Alternative Minimum Benefit” means the minimum
                     settlement amount of Thirty Dollars and Zero Cents ($30.00) for Class Members whose
                     settlement allocation pursuant to 3.4(B) below falls below Thirty Dollars and Zero Cents
                     ($30.00). This Alternative Minimum Benefit is considered to be 100% liquidated damages
                     and is not subject to tax withholdings

            1.3      Claim Form. “Claim Form” shall mean the Court approved form provided to Class
                     Members that they must submit, along with an IRS Form W-4 and W-9 (“IRS Forms”), in
                     order to obtain their Individual Settlement Amount pursuant to this Agreement. The Claim
                     Form will include the IRS Forms and shall be in the form attached as Exhibit B to this
                     Agreement, or in such other form as approved by the Court.




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            1.4      Claim Form Deadline. “Claim Form Deadline” shall mean the date that is sixty (60)
                     calendar days after the Settlement Claims Administrator mails the Notice, Claim Form,
                     and IRS Forms to Class Members pursuant to Section 2.8 of this Agreement. If the Claims
                     Administrator re-mails the Claim Form to any individual pursuant to Section 2.8 of this
                     Agreement because the first mailing was returned as undeliverable or because an individual
                     has requested a reissued Claim Form, the Claim Form Deadline for such individuals shall
                     be the earlier of (a) sixty (60) days after the re-mailing, or (b) 90 days after the Claims
                     Administrator’s initial mailing to all Class Members. If the Claim Form Deadline falls on
                     a Sunday or national bank holiday, the Claim Form Deadline will be the next business day
                     that is not a Sunday or national bank holiday.

            1.5      Claimant. “Claimant” shall mean any Class Member who submits a fully-executed Claim
                     Form and completed IRS Forms by the Claim Form Deadline in accordance with Sections
                     1.4 and 2.8 of this Agreement.

            1.6      Claims Administrator or Settlement Claims Administrator.                     The “Claims
                     Administrator” or “Settlement Claims Administrator” will be mutually selected by the
                     Parties, subject to approval by the Court, to mail the Notices, Claim Forms, IRS Forms,
                     and administer the calculation, allocation, and distribution of the QSF, as defined herein.
                     The Settlement Claims Administrator’s fees shall be borne by the QSF. The Parties have
                     preliminarily identified Arden Claims Service as the Settlement Claims Administrator.

            1.7      Class Action Complaint.           “Class Action Complaint” shall refer to the Amended
                     Complaint.

            1.8      Class Counsel. “Class Counsel” or “Plaintiffs’ Counsel” shall mean Marcus Monteiro,
                     Esq. of Monteiro & Fishman LLP.

            1.9      Class Members. “Class Members” shall be defined as Plaintiffs and all other individuals
                     employed by Defendants in tip eligible positions, as defined in Paragraph 1.34, at 21 Old
                     Westbury Road, Old Westbury, NY 11568 and/or the Trump National Doral Miami during
                     the Relevant Statutory Period.



            1.10     Court. “Court” means the United States District Court for the Eastern District of New
                     York.

            1.11     Days. “Days” means calendar days unless otherwise stated.

            1.12     Defendants. “Defendants” shall mean Simon Auerbacher, Ram Destinations Miami, LLC
                     and Ram Caterers LLC, collectively.

            1.13     Defendants’ Counsel. “Defendants’ Counsel” shall mean Ilan Weiser, Lois Traub, and
                     Joseph Tangredi of Ellenoff, Grossman & Schole LLP.

            1.14     Effective Date. “Effective Date” of the Settlement Agreement will be either: (a) the date
                     thirty-five (35) days after the entry of the Final Approval Order, if there are no appeals; or


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                     (b) if there is an appeal of the Final Approval Order, the day after all appeals are finally
                     resolved in favor of complete and final approval of the Agreement.

            1.15     Fairness Hearing. “Fairness Hearing” means the hearing before the Court relating to the
                     Parties’ motion seeking a Final Approval Order.

            1.16     Final Approval Order. “Final Approval Order” means the Order entered by the Court
                     after the Fairness Hearing, approving the terms and conditions of this Agreement,
                     dismissing the Litigation with prejudice, and entering a judgment consistent with the
                     Parties’ settlement terms.

            1.17     Individual Settlement Amount. “Individual Settlement Amount” shall mean each Class
                     Member’s potential share of the Net Settlement Fund, as calculated pursuant to Section 3.4
                     of this Agreement.

            1.18     Letter. “Letter” refers to the cover-letter that will be mailed to Class Members which
                     includes the Notice, Claim Form and IRS Forms as enclosures. Subject to Court approval,
                     the form of the letter will be the proposed template attached hereto as the first page of
                     “Exhibit A.”

            1.19     Litigation. “Litigation” means the above-captioned case.

            1.20     Named Plaintiffs. “Named Plaintiffs” means Rakin Subhan, Moin Mahbub, David Kay,
                     Ashley Cleator and James Hicks.

            1.21     Net Settlement Fund. “Net Settlement Fund” means the remainder of the Qualified
                     Settlement Fund (as defined below in Section 1.29) after deductions for: (1) the Settlement
                     Claims Administrator’s fees and costs; (2) Court-approved attorneys’ fees and costs for
                     Class Counsel; and (3) Court-approved Service Awards to the Plaintiffs.

            1.22     Notice or Notices. “Notice” or “Class Notice” means the Court approved Notice of
                     Proposed Settlement of Class Action and Collective Action Lawsuit. Subject to Court
                     approval, the form of the Notice will be the proposed template attached hereto as “Exhibit
                     A.”

            1.23     Objector. “Objector” means a Class Member who files an objection to this Agreement
                     and does not include any Class Member who opts-out of this Agreement.

            1.24     Opt-In Plaintiff. “Opt-In Plaintiff” means Harris Roth.

            1.25     Opt-out Statement. “Opt-out Statement” is a written statement signed by an individual
                     Class Member who has decided to timely opt-out and not be included in this Agreement.

            1.26     Participating Class Members. “Participating Class Members” are all Class Members who
                     do not submit a valid and timely Opt-Out Statement.

            1.27     Plaintiffs. “Plaintiffs” shall mean the Named Plaintiffs and Opt-In Plaintiff.



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            1.28     Preliminary Approval Order. “Preliminary Approval Order” means the Order entered
                     by the Court preliminarily approving the terms and conditions of this Agreement and
                     directing the manner and timing of providing Notices to the Class Members.

            1.29     Qualified Settlement Fund or QSF. “Qualified Settlement Fund” or “QSF” means the
                     account established by the Settlement Claims Administrator into which Ram Caterers shall
                     pay the maximum settlement amount as per Section 3.1. The QSF will be controlled by the
                     Settlement Claims Administrator subject to the terms of this Agreement and the Court’s
                     Preliminary Approval Order and Final Approval Order. Interest, if any, earned on the QSF
                     will become part of the Net Settlement Fund.

            1.30     Released Claims. “Released Claims” means any claims released by Class Members and/or
                     Plaintiffs pursuant to Section 4 of this Agreement.

            1.31     Relevant Statutory Period. The “Relevant Statutory Period” refers to the period from
                     November 14, 2014 to the date of the Preliminary Approval Order.

            1.32     Settlement Checks. “Settlement Checks” means the set of checks issued to Class Members
                     for their share of the Net Settlement Fund calculated in accordance with this Agreement.

            1.33     Settlement Common Fund. “Settlement Common Fund” means One Million Three
                     Hundred Twenty-Five Thousand Dollars and Zero Cents ($1,325,000.00) which is the
                     maximum amount Ram Caterers will pay to settle the Litigation as set forth in this
                     Agreement. The employers’ share of applicable taxes shall be borne by Ram Caterers and
                     not deducted from the Settlement Common Fund.

            1.34     Tip Eligible Positions. “Tip Eligible Positions” means bar staff, captains who provide
                     direct food service to customers, coat check attendants, hosts, and wait staff.

            1.35     Unredeemed Funds. “Unredeemed Funds” means any money still remaining in the Net
                     Settlement Fund on the later of one hundred eighty-one (181) days after the Settlement
                     Checks are issued or fifty (50) days after the last reissued settlement check is issued.

            2.       INITIAL PROCEDURAL ISSUES

            2.1      Binding Agreement. This Agreement is a legally binding agreement and contains all
                     material agreed-upon terms for the parties to seek a full and final settlement of the
                     Litigation.

            2.2      Interim Stay of Proceedings. Pending the Fairness Hearing to be conducted by the Court,
                     or earlier if for any reason the settlement contemplated by this Agreement will not occur,
                     the Parties agree to hold in abeyance all proceedings in the Litigation, except such
                     proceedings as are necessary to implement and complete the settlement, or to comply with
                     any order of the Court.

            2.3      Certification of Class for Settlement Purposes Only. For Settlement Purposes only, the
                     Parties hereby agree, subject to the approval of the Court, that the Class shall be deemed,
                     for purposes of settlement only, to satisfy the requirements for class certification pursuant


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                     to Federal Rule of Civil Procedure 23(b)(3),and shall be certified as a class for settlement
                     purposes only. Any class certification order entered in this action upon Preliminary
                     Approval pursuant to the Settlement, this Agreement, or otherwise shall not constitute a
                     waiver or admission, in this or in any other proceeding, by the Defendants of a finding or
                     evidence that Named Plaintiffs’ claims, Plaintiffs’ claims, claims of any Opt-in Plaintiff,
                     Class Member, or any Released Claims are appropriate for class treatment or that any
                     requirement for class certification is otherwise satisfied in this matter. In the event that the
                     Settlement or this Agreement does not become effective, either because the Effective Date
                     does not occur for any other reason whatsoever or because the Agreement is later
                     determined or declared to be null and void, in part or in full, the Court’s Preliminary
                     Approval Order certifying the Settlement Class for settlement purposes shall be null and
                     void and shall no longer be in effect. By entering into the Settlement and this Agreement,
                     Defendants in no way waive their respective rights to challenge Plaintiff’s allegations that
                     a class may be certified in this Action.


            2.4      Preliminary Approval Motion.

                     (A)     Within ten (10) days after the Plaintiffs’ and Defendants’ execution of this
                             Agreement, Class Counsel will file a Motion for Preliminary Settlement Approval
                             (“Preliminary Approval Motion”) with the Court. The Preliminary Approval
                             Motion will seek an Order: (a) approving the Notice and Claim Form; (b)
                             scheduling a fairness hearing; (c) directing the mailing of the Notice, Claim Form
                             and IRS Forms, and providing the Class Members an opportunity to object to our
                             request to “opt-out” from the settlement; (d) preliminarily approving the
                             Agreement, subject only to the objections of Class Members and Final Approval
                             by the Court; (e) preliminarily approving costs of administration; and (f) appointing
                             a Settlement Administrator. The Preliminary Approval Motion will also seek
                             deadlines for individuals to opt-out of this Agreement or provide objections to this
                             Agreement, which deadline will be the date sixty (60) days from the mailing of the
                             Notice, Claim Form and IRS Forms to the Class Members, and for a Fairness
                             Hearing for Final Approval of the Agreement before the Court at the earliest
                             practicable date of the Court’s choosing but no earlier than forty-five (45) days after
                             the Claim Form Deadline. Defendants will not oppose the Preliminary Approval
                             Motion provided it is consistent with the terms of this Agreement.

                     (B)     If the Court denies the Preliminary Approval Motion, the Litigation will continue
                             as if no settlement had been attempted, unless the Parties jointly agree to seek
                             reconsideration of the ruling, Plaintiffs or Defendants appeal the ruling, or if the
                             Parties seek Court approval of a renegotiated Agreement.

                     (C)     The Parties will work together, diligently and in good faith, to expeditiously obtain
                             a Preliminary Approval Order, Final Approval Order, and Final Judgment and
                             Dismissal. Any disputes which arise between the Parties related to the Parties’
                             efforts to obtain a Preliminary Approval Order, Final Approval Order, and
                             dismissal with prejudice shall be submitted to mediator Martin Scheinman, Esq. for
                             further guidance.


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            2.5      Class Action Fairness Act (“CAFA”) Notice. Defendants shall be responsible for
                     ensuring that this Agreement complies with CAFA and that the appropriate CAFA
                     notices are issued.

            2.6      Retention and Responsibilities of the Settlement Claims Administrator.

                     (A)     Within five (5) days after the filing of a Preliminary Approval Motion, the Parties
                             shall engage a Settlement Claims Administrator whose fee shall be paid from the
                             Qualified Settlement Fund.

                     (B)     The Settlement Claims Administrator will be responsible for:

                             (1)     Opening and maintaining an FDIC insured account to deposit the payments
                                     set forth in Section 3 of this Agreement;

                             (2)     preparing, printing and disseminating to Class Members the Class Notice,
                                     Claim Form, and IRS Forms and any other notices required by the Court;

                             (3)     copying counsel for all Parties on material correspondence and promptly
                                     notifying all counsel for the Parties of any material requests or
                                     communications made by any Class Member;

                             (4)     receiving, reviewing, and responding to any Opt-Out Statements,
                                     Objections, or any other inquiries submitted by Class Members;

                             (5)     furnishing to counsel for the Parties copies of any Opt-Out Statements,
                                     Objections, or other written or electronic communications from Class
                                     Members which the Claims Administrator receives;

                             (6)     keeping track Opt-Out Statements, including maintaining the original
                                     mailing envelope in which the request was mailed;

                             (7)     keeping track of returned Notices;

                             (8)     keeping track of returned Claim Forms and IRS Forms;

                             (9)     ascertaining current address information for each Notice, Claim Form, and
                                     IRS Forms returned as undeliverable and re-mailing of Notices, Claim
                                     Forms, and IRS Forms in accordance with Section 2.8(C) of this
                                     Agreement within five (5) days of receipt;

                             (10)    calculating distribution amounts to Class Members in accordance with this
                                     Agreement;

                             (11)    preparing and mailing the Settlement Checks and the related tax reporting
                                     forms to Plaintiff, Class Members, Class Counsel, and any other party,
                                     entity, or individual for whom receipt of such documents is necessary or
                                     required;


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                             (12)    calculating any employer-side payroll taxes required pursuant to the
                                     settlement and providing such information to Defendants’ Counsel so that
                                     all payments required by Defendants pursuant to the terms of this
                                     Agreement can be made in a timely manner;

                             (13)    timely responding to inquiries from Class Members, Class Counsel, or
                                     Defendants’ Counsel consistent with the Claims Administrator’s duties
                                     specified herein;

                             (14)    referring to Class Counsel all inquiries by Class Members regarding
                                     matters not within the Settlement Claims Administrator’s duties specified
                                     herein;

                             (15)    promptly apprising Class Counsel and Defendants’ Counsel of the
                                     activities of the Settlement Claims Administrator and maintaining
                                     adequate records of its activities, including the dates of the mailing of
                                     Notice(s), returned mail and other communications and attempted written
                                     or electronic communications with the Class;

                             (16)    promptly providing copies to Class Counsel and Defendants’ Counsel of
                                     any Opt-Out Statements and Objections submitted by Class Members;

                             (17)    distributing any Court-approved Service Awards;

                             (18)    preparing and mailing Counsel’s attorneys’ fees, expenses, and costs and
                                     settlement payments in accordance with this Settlement Agreement and
                                     the Court’s Final Approval Order;

                             (19)    providing copies of the Settlement Checks and the endorsement of same to
                                     Class Counsel and Defendants’ Counsel upon request;

                             (20)    providing a final report, deliverable to Class Counsel and Defendants’
                                     Counsel, detailing the results of the class mailings and participation;

                             (21)    providing Class Counsel and Defendants’ Counsel with any necessary
                                     documents regarding the claims administration process that Class Counsel
                                     and/or Defendants’ Counsel may need in order to file a Motion for Final
                                     Approval of the Settlement, object to same, or appeal the Court’s decision
                                     on same;

                             (22)    provide Class Counsel with a list of outstanding Settlement Checks
                                     thirty (30) days prior to their expiration or if returned. Class Counsel
                                     shall attempt to notify Claimants who have not cashed their checks;

                             (23)    timely provide notices no later than ten (10) days after preliminary
                                     approval of the class settlement is obtained, as required by the Class
                                     Action Fairness Act (“CAFA”); and



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                             (24)    such other tasks upon which the Parties may mutually agree.

                     (C)     The Parties will have equal access to the Settlement Claims Administrator, and the
                             Settlement Claims Administrator will provide regular reports to the Parties, but no
                             less frequently than every two (2) weeks, regarding the status of the mailing of the
                             Notices to Class Members and IRS Forms to Class Members, the claims
                             administration process, the identity and number of Class Members who object
                             and/or opt-out of the Settlement, and the distribution and redemption of the
                             Settlement Checks.

                     (D)     In addition, no later than fifteen (15) days prior to the Fairness Hearing, the
                             Settlement Claims Administrator shall certify jointly to Class Counsel and
                             Defendants’ Counsel (a) a list of all Class Members who filed a timely objection
                             and (b) a list of all Class Members who requested to opt-out of the settlement at
                             any time during the opt-out period. The Settlement Claims Administrator shall also
                             provide Defendants with an updated address list for Class Members. Throughout
                             the period of claims administration, the Settlement Claims Administrator will
                             provide reports to the Parties upon request by either Party, regarding the status of
                             the mailing of the Notices to Class Members, the claims administration process,
                             and distribution of the Settlement Checks or any other aspect of the claims
                             administration process.

                     (E)     Also, within fifteen (15) days before the Fairness Hearing the Claims
                             Administrator shall provide a payment summary to the Parties for review and
                             approval. The payment summary shall include (1) Class Counsel’s attorney fees
                             and costs; (2) Settlement Costs, including all Administrator Costs; (3) service
                             awards to the Named Plaintiffs; (4) each Claimant’s Individual Settlement
                             Amount in accordance with the allocation agreed upon by the Parties; and (5)
                             each Claimant’s Individual Settlement Amount broken out by the 1099
                             payment and the W-2 income payment, less all applicable tax contributions and
                             withholdings

            2.7      The Parties agree to reasonably cooperate with the Settlement Claims Administrator,
                     provide accurate information, to the extent reasonably available, necessary to calculate
                     the Settlement Checks, and reasonably assist the Settlement Claims Administrator in
                     locating Class Members and updating information concerning Class Members.

             2.8      Notice to Class Members

                     (A)     Within thirty (30) calendar days after the Court issues the Preliminary Approval
                             Order, Defendants’ Counsel will provide the Claims Administrator and Class
                             Counsel with a list in Microsoft Excel format, of each Class Member’s (1) name,
                             (2) last known mailing address, (3) position held while employed by Defendants,
                             and, (4) the total number of hours worked by each Class Member between
                             November 14, 2014 and the date the Court enters the Preliminary Approval Order
                             (the “Class List”), to the extent such information is available to Defendants.




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                     (B)     Within fourteen (14) days of receipt of the Class List, the Settlement Claims
                             Administrator will mail to all Class Members, via First Class United States Mail,
                             postage prepaid, the Court-approved Class Notice, IRS Forms and Claim Form.

                     (C)     The Settlement Claims Administrator will take all reasonable steps to obtain the
                             correct address of any Class Members for whom a Notice is returned by the post
                             office as undeliverable, including one skip trace, and shall attempt one re-mailing
                             for all Class Members for whom it obtains a more recent address. The Settlement
                             Claims Administrator will notify Class Counsel and Defendants’ Counsel of any
                             Notice sent to a Class Member that is returned as undeliverable after the first
                             mailing, as well as any such Notice returned as undeliverable after any subsequent
                             mailing(s) as set forth in this Agreement. The Settlement Claims Administrator
                             shall also mail a Class Notice to any Class Member who requests a re-mail.

                     (D)     Each Class Member must submit his/her completed Claim Form to the Settlement
                             Claims Administrator no later than the Claim Form Deadline in order to receive his
                             or her Individual Settlement Amount. The postmark date of the Claim Form mailed
                             by the Settlement Claims Administrator to the Class Member and the postmark date
                             of the Claim Form mailed by the Class Member to the Settlement Claims
                             Administrator shall be the exclusive means for determining whether a Class
                             Member timely submitted his/her Claim Form.

                     (E)     Only those Class Members who timely complete and return a Claim Form and IRS
                             Forms as set forth herein will be deemed Claimants. The Plaintiffs who sign this
                             Agreement will be deemed Claimants even if they do not submit a Claim Form.
                             Any money unclaimed from the Settlement Common Fund or the Qualified
                             Settlement Fund will revert back to Defendants.

                     (D)      In the event that individuals who claim to be Class Members but are not on
                             the Class List come forward prior to the Opt-out Date, Class Counsel and
                             Defendants’ Counsel shall meet and confer in good faith in an attempt to
                             determine if any such individual(s) are Class Members and resolve issues
                             relating to any such individual(s). The determination and allocation amount
                             agreed to by Class Counsel and Defendants’ Counsel with respect to any such
                             individual(s) will be presumed to be accurate.

            2.9      Class Member Opt-Outs.

                     (A)     Class Members who choose to opt-out of the settlement as set forth in this
                             Agreement must mail, via First Class United States Mail, postage prepaid, a
                             written, signed statement to the Settlement Claims Administrator that states he or
                             she is opting out of the settlement, and include his or her name, address, and
                             telephone number, and state: “I opt out of the Ram Caterers wage and hour
                             settlement.” (“Opt-Out Statement”). To be effective, an Opt-Out Statement must
                             be postmarked by the Claim Form Deadline.




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                     (B)     The end of the time period to opt-out of the settlement (“Opt-Out Period”) shall
                             be the Claim Form Deadline.

                     (C)     The Settlement Claims Administrator will stamp the received date on the original
                             of each Opt-Out Statement that it receives and shall serve copies of each Opt-Out
                             Statement on Class Counsel and Defendants’ Counsel no later than three (3) days
                             after receipt thereof. The Settlement Claims Administrator will, within three (3)
                             days of the end of the Opt-Out Period, file with the Clerk of the Court, stamped
                             copies of any Opt-Out Statements. The Settlement Claims Administrator will,
                             within 24 hours of the end of the Opt-Out Period, send a final list of all Opt-Out
                             Statements it received to Class Counsel and Defendants’ Counsel by e-mail. The
                             Settlement Claims Administrator will retain the stamped originals of all Opt-Out
                             Statements and originals of all envelopes accompanying Opt-Out Statements in its
                             files until such time as the Settlement Claims Administrator is relieved of its
                             duties and responsibilities under this Agreement.

                     (D)     Any Class Member who does not submit an Opt-Out Statement pursuant to this
                             Agreement will be deemed to have accepted the settlement and the terms of this
                             Agreement, will be bound by the Judgment in this case, and have any Released
                             Class Claims released and dismissed with prejudice.

            2.10     Objections to Settlement.

                     (A)     Class Members who wish to present objections to the proposed settlement
                             Agreement at the Fairness Hearing must first do so in writing. To be considered,
                             such Objections must be mailed to the Settlement Claims Administrator via First-
                             Class United States Mail, postage prepaid, and be mailed by the Claim Form
                             Deadline. The statement must include all reasons for the objection and any reasons
                             not included in the statement will not be considered. The statement must also
                             include the name, job title, address, and telephone numbers for the Class Member
                             making the objection. The Settlement Claims Administrator will stamp the date
                             received on the original and send copies of each objection to Class Counsel and
                             Defendants’ Counsel by email no later than three (3) days after receipt thereof. The
                             Settlement Claims Administrator will also file the date-stamped originals of any
                             and all objections with the Court within three (3) days after the end of the Opt-Out
                             Period.

                     (B)     An Objector also has the right to appear at the Fairness Hearing either in person or
                             through counsel hired by the Objector. An Objector who wishes to appear at the
                             Fairness Hearing must state his or her intention to do so in writing on his or her
                             written objections at the time he or she submits his or her written objections. An
                             Objector may withdraw his or her objections at any time. No Objector may present
                             an objection at the Fairness Hearing based on a reason not stated in his or her written
                             objections. A Class Member who has submitted an Opt-Out Statement may not
                             submit objections to the Settlement.




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                     (C)     The parties may file with the Court written responses to any filed objections no
                             later than three (3) days before the Fairness Hearing.

            2.11     Motion for Judgment and Final Approval. No later than seven (7) calendar days before
                     the Fairness Hearing, Plaintiffs will submit a Motion for Judgment and Final Approval.
                     Defendants will not oppose the Final Approval Motion provided it is consistent with the
                     terms of this Settlement Agreement. The Motion for Final Approval may contain a
                     compliance affidavit from the Claims Administrator, an application for attorneys’ fees,
                     costs, Service Award and Release Payment and supporting affirmation and documents
                     from Class Counsel regarding the fairness, adequacy and reasonableness of the Settlement
                     or any aspect related to this Agreement. The Motion for Final Approval may also include
                     a proposed Final Approval Order. The Fairness Hearing shall be held at the Court’s
                     convenience.

            2.12     Entry of Judgment. At the Fairness Hearing and in the Motion for Final Approval and
                     Dismissal, the parties will request that the Court, among other things: (1) certify the NYLL
                     Class and FLSA Class for purposes of settlement; (2) approve the settlement and
                     Agreement as fair, reasonable, adequate, and binding on all Class Members who have not
                     timely opted out of the settlement; (3) order the Settlement Claims Administrator to
                     distribute Settlement Checks to Class Members; (4) order any Court-approved Service
                     Awards, to be paid from the QSF, to individuals as described in this Agreement; (5) order
                     Court-approved attorneys’ fees and costs to be paid to Class Counsel from the QSF; (6)
                     order Court-approved Claims Administrator’s fees to be paid to the Claims Administrator
                     from the QSF (7) order the dismissal with prejudice of all claims asserted in the Litigation
                     and the claims of all Class Members who did not opt-out; (8) order entry of Final Judgment
                     in accordance with this Agreement; and (9) retain jurisdiction as necessary for the purpose
                     of enforcing the administration of the settlement, and for the purposes of the interpretation
                     and implementation of this Agreement as well as any and all matters arising out of, or
                     related to, the interpretation or implementation of this Agreement and of the settlement
                     contemplated thereby.

            2.13     Effect of Failure to Grant Final Approval. In the event the Court denies the Motion for
                     Final Approval the parties will resume the Litigation unless the parties jointly agree to: (1)
                     seek reconsideration or appellate review of the decision denying Final Approval; or (2)
                     attempt to renegotiate the settlement and seek Court approval of the renegotiated
                     settlement. If any reconsideration and/or appellate review is denied, or a mutually agreed-
                     upon settlement is not approved, the Litigation will proceed as if no settlement had been
                     attempted. In that event, any class and/or collective certified for purposes of settlement
                     shall be automatically decertified, and Defendants may contest whether this Litigation
                     should be maintained as a class action or collective action and contest the merits of the
                     claims asserted by Plaintiffs in this action.

                     In the event the Court denies the Motion for Final Approval, the Settlement Claims
                     Administrator will provide notice to Class Members that the Agreement did not receive
                     Final Approval and that, as a result, no payments will be made to Claimants under the
                     Agreement. The content of such notice shall be agreed to by the parties and such notice
                     shall be mailed by the Settlement Claims Administrator via First Class United States Mail,


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                     postage prepaid, to the addresses used by the Settlement Claims Administrator in mailing
                     the Notices. Any amounts paid by Defendants to the Settlement Claims Administrator shall
                     be returned to Defendants within fifteen (15) days after the Court files an opinion or order
                     rejecting or otherwise not approving the settlement.

            3.       SETTLEMENT TERMS

            3.1      Settlement Amount.

                     (A)     Defendant Ram Caterers agrees to pay One Million Three Hundred Twenty-Five
                             Thousand Dollars and Zero Cents ($1,325,000.00) towards the settlement, which
                             shall be the maximum amount Defendants will pay in this settlement (“Maximum
                             Settlement Amount”), which shall fully resolve and satisfy any claim for attorneys’
                             fees and costs approved by the Court, any and all amounts to be paid to Claimants,
                             any Court-approved Service Awards to Plaintiffs, any fees and costs associated
                             with investing and liquidating the Qualified Settlement Fund, and the Settlement
                             Claims Administrator’s fees and costs.

                     (B)     Defendant Ram Caterers shall fund the Qualified Settlement Fund by paying Five
                             Hundred Thousand Dollars and Zero Cents ($500,000.00), plus any funds
                             necessary to fund the employer’s shares of payroll taxes resulting, to the Settlement
                             Claims Administrator, by thirty (30) days after the date Final Approval is granted
                             by the Court.

                     (C)     Defendant Ram Caterers shall, in the event additional amounts are needed to satisfy
                             amounts to be paid to Claimants, any Court-approved Service Awards, attorneys’
                             fees and costs approved by the Court, or fees and costs associated with the
                             Settlement Claims Administrators, fund the Qualified Settlement Fund to the extent
                             needed to satisfy such additional amount, up to the Maximum Settlement Amount
                             within 30 days following notice by the Claims Administrator which only can occur
                             after the initial funds as referred to in paragraph 3.1(B) are exhausted.

             3.2      Settlement Amounts Payable as Attorneys’ Fees, Expenses and Costs.

                     (A)     Prior to the Fairness Hearing, Class Counsel shall petition the Court for
                             reimbursement of their reasonable litigation costs, expenses and attorneys’ fees
                             from                                                                         the
                             Qualified Settlement Fund, which shall be no more than one-third of the Maximum
                             Settlement Amount from the Qualified Settlement Fund, and which shall not exceed
                             $437,250.00, which represents one-third (1/3) of the Maximum Settlement
                             Amount. Defendants will not oppose such application provided the application is
                             consistent with the terms of this Agreement. Defendants shall have no additional
                             liability for attorneys’ fees and/or costs in connection with this matter.

                     (B)     The substance of Class Counsel’s application for attorneys’ fees and costs is not
                             part of this Agreement and is to be considered separately from the Court’s
                             consideration of the fairness, reasonableness, adequacy, and good faith of the
                             settlement of the Litigation. The outcome of any proceeding related to Class


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                             Counsel’s application for attorneys’ fees and costs shall not terminate this
                             Agreement or otherwise affect the Court’s ruling on the Motion for Judgment and
                             Final Approval. Any reduction by the Court of Class Counsel’s application for
                             attorneys’ fees and costs shall become part of the Net Settlement Fund and shall
                             be subject to allocation and the reversion of Unredeemed Funds as defined above.

            3.3      Service Awards to Plaintiffs.

                     (A)     In return for services rendered to the Class Members, at the Fairness Hearing,
                             Plaintiffs will each apply to the Court to receive no more than Six Thousand Dollars
                             and Zero Cents ($6,000.00) each from the Qualified Settlement Fund as Service
                             Awards and in consideration for signing the Agreement.

                     (B)     The outcome of the Court’s ruling on the application for the Service Award will
                             not terminate this Agreement or otherwise affect the Court’s ruling on the Motion
                             for Final Approval or for Final Judgment and Dismissal. Should all or part of any
                             Service Award sought not be approved by the Court, the amount not approved shall
                             become part of the Net Settlement Fund.

                     (C)     In consideration for receipt of the Service Award, if any, and their respective shares
                             of the QSF, Plaintiffs agree to the release set forth in Section 4.1(C).

            3.4      Net Settlement Fund and Distribution to Class Members.

                     (A)     The allocation to Class Members for Settlement Checks will be made from the Net
                             Settlement Fund.

                     (B)     Each Class Member’s proportionate share of the Net Settlement Fund will be
                             determined by the Settlement Claims Administrator pursuant to the following
                             terms:

                             (1)     The Net Settlement Fund shall be distributed among Class Members who
                                     were employed by Defendants in Tip Eligible Positions at 21 Old
                                     Westbury Road, Old Westbury, NY 11568 and/or the Trump National
                                     Doral Miami during the Relevant Statutory Period.

                             (2)     Notwithstanding the formulas agreed upon by the Parties, no Class Member
                                     will be awarded a payment that is less than the Alternative Minimum
                                     Benefit, which equals Thirty Dollars and Zero Cents ($30.00). In the event
                                     that any Class Members’ award must be increased to the Alternative
                                     Minimum Benefit the difference shall be borne proportionately by other
                                     Class Members.

                             (3)     The Net Settlement Fund shall be allocated on a pro rata basis according to
                                     the following formula: (1) calculate the total number of hours each Class
                                     Member worked from November 14, 2014 to the date the motion for
                                     Preliminary Approval is submitted to the Court; (2) divide each Class
                                     Member’s total hours worked in the same time period by the total number


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                                     of hours worked by all of such Class Members from November 14, 2014 to
                                     the date the motion for Preliminary Approval is submitted to the Court to
                                     derive a percentage; and (3) each of such Class Member’s Individual
                                     Settlement Amount will equal their respective percentage of the Net
                                     Settlement Fund.

                     (C)     In the event a Class Member believes the information the Settlement Claims
                             Administrator relied on to calculate their Individual Settlement Amount was in
                             error, the Class Member may raise their concerns with Class Counsel. If Class
                             Counsel believes there is merit to any such concerns, they will bring these concerns
                             to Defendants’ Counsel’s attention and the Parties will work together to resolve the
                             issue.

                     (D)     The Parties and the Claims Administrator shall exchange such information as is
                             necessary for the Claims Administrator to make proper tax withholdings and
                             comply with tax reporting obligations as described in Section 3.6.

                     (E)     Only those Class Members that have submitted a timely Claim Form (with valid
                             IRS Forms enclosed) will be able to participate as Claimants and receive a portion
                             of the Net Settlement Fund.

                     (F)     The Claims Administrator shall mail to all Claimants their share of the Net
                             Settlement Fund. The Claims Administrator shall use reasonable efforts to make
                             an additional mailing to Claimants whose checks are returned because of incorrect
                             addresses. Such efforts shall include using Social Security Numbers to obtain
                             updated address information. Participating Class Members who do not return
                             timely Claim Forms (with valid IRS Forms) will not receive any distribution from
                             the Net Settlement Fund.

                     (G)     Claimants will have ninety (90) calendar days after each check date to redeem their
                             settlement payment check. If a Claimant does not redeem their settlement payment
                             check within the 90-day period, their settlement checks will be void and a stop-
                             payment will be placed. In such event, the Claims Administrator shall remit any
                             such Claimant’s uncashed check amount to the Defendants.

            3.5      Claims Administrator’s Fees.

                     (A)     In connection with the motion for Final Approval, Class Counsel will submit a
                             declaration from the Claims Administrator detailing the administration process, and
                             will petition the Court for an award of administration fees not to exceed [INSERT
                             AMOUNT]. The Claims Administrator’s fees shall be paid by Defendant Ram
                             Caterers within thirty (30) days from the date of Final Approval.

                     (B)     The Claims Administrator’s fees and expenses are not part of this Agreement and
                             are to be considered separately from the Court’s consideration of the fairness,
                             reasonableness, adequacy, and good faith of the settlement of the Litigation. The




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                             outcome of any proceeding related to the request for Claims Administrator costs
                             and expenses shall not terminate this Agreement.

             3.6      Tax Characterization

                     (A)     For tax purposes, the payments to Claimants pursuant to Section 3.4 will be
                             allocated as follows for tax purposes: (i) 50% in consideration for time worked as
                             back-wage payments and/or wage income subject to W-2 reporting, and (ii) 50% in
                             consideration for liquidated damages, statutory fines and interest as non-wage
                             payments subject to 1099 reporting.

                     (B)     Payments treated as back wages pursuant to Section 3.6(A) shall be made net of all
                             applicable employment taxes, including, without limitation, federal, state and local
                             income tax withholding and the employee share of the FICA tax, and shall be
                             reported to the Internal Revenue Service (“IRS”) and the payee under the payee’s
                             name and social security number on an IRS Form W-2. The employers’ share of
                             applicable taxes shall be borne by Defendant Ram Caterers and not deducted from
                             the Settlement Common Fund. Payments of attorneys’ fees and costs pursuant to
                             Section 3.2 shall be made without withholding. Class Counsel will receive an IRS
                             Form 1099 for this payment of attorneys’ fees and costs, and individual Claimants
                             shall receive a Form 1099 with their pro rata share for their payment of liquidated
                             damages. Any Service Award payments pursuant to Section 3.3 shall be made
                             without withholding and reported to the IRS and the payee under the payee’s name
                             and social security number on an IRS Form 1099.

                     (C)     The Claims Administrator shall be responsible for making all withholdings from
                             Claimants’ settlement payments required pursuant to any federal, state, or local tax
                             law or regulation, with respect to the amounts treated as wages pursuant to Section
                             3.6(A).

                     (D)     Each individual Claimant will be solely responsible for all taxes, interest and
                             penalties due with respect to any payment received pursuant to this Agreement,
                             other than FICA tax and any federal and state unemployment tax due that are
                             traditionally borne by employers. The Plaintiffs, on behalf of the Class,
                             acknowledge and agree that they have not relied upon any advice from Defendants
                             as to the taxability of the payments received pursuant to this Agreement.

            4.       RELEASE

             4.1      Release of Claims.

                     (A)     Release of State Claims. Upon the Order granting Final Approval, and except as
                             to such rights or claims as may be created by this Agreement, each Participating
                             Class Member, on his or her behalf, and on behalf of his or her respective current,
                             former, and future heirs, spouses, executors, administrators, agents, and attorneys,
                             fully releases and discharges Defendants, and all of their insurers, affiliates,
                             subsidiaries and related entities and all of their past, present and future officers,



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                             directors, shareholders, owners, employees, agents, attorneys and assigns,
                             specifically including but not limited to Debra Auerbacher, Kenneth Grief,
                             William Kohane, VIP & RAM Passover, LLC, Ram Destinations LLC, Ram
                             Destinations Miami, LLC, Simply Ram LLC, C&I Consulting, and RCOP 2 LLC
                             (collectively, the “Releasees”) from any claims under the New York Labor Law,
                             New York Wage Theft Prevention Act, the New York State Hospitality Wage
                             Order, and/or any other applicable New York State Wage Orders, including but
                             not limited to claims for unpaid wages, overtime pay, unpaid tips, unpaid
                             purported gratuities, failure to maintain and furnish employees with proper wage
                             records, paystubs, notices, interest, liquidated damages, and attorneys’ fees and
                             costs related to such claims, and all other claims that were or could have been
                             asserted in the Litigation under New York Labor law, New York Wage Theft
                             Prevention Act, the New York State Hospitality Wage Order, and/or any other
                             applicable New York State Wage Order, whether known or unknown, through the
                             date of this Agreement is preliminary approved by the Court, for the time they
                             were employed by Defendants in Tip Eligible Positions at 21 Old Westbury
                             Road, Old Westbury, NY 11568 and/or the Trump National Doral Miami during
                             the Relevant Statutory Period.

                     (B)     Release of Claimants’ Federal Claims. In addition, each Claimant, on his or her
                             own behalf, and on behalf of his or her respective current, former and future heirs,
                             spouses, executors, administrators, agents, and attorneys, forever and fully
                             releases Defendants and Releasees from any FLSA claims relating to the time
                             they were employed by Defendants in Tip Eligible Positions at 21 Old Westbury
                             Road, Old Westbury, NY 11568 and/or the Trump National Doral Miami during
                             the Relevant Statutory Period, including claims for unpaid wages and/or overtime
                             wages, unpaid tips, unpaid purported gratuities, liquidated damages, and
                             attorneys’ fees and costs related to such claims, that were or could have been
                             asserted in the Litigation, whether known or unknown, through the date each
                             respective Claimant signs a Claim form.

                     (C)     Release of Plaintiffs’ Claims.

                             (1)     General Release. In addition to the waivers and releases contained in
                                     4.1(A)-(B) above, Plaintiffs knowingly and voluntarily, on their behalf and
                                     on behalf of their respective current, former and future heirs, spouses,
                                     executors, administrators, agents, and attorneys, fully release and
                                     discharge Defendants and Releasees from any and all claims arising up to
                                     and as of the date they execute this Agreement, both known and unknown,
                                     which the Plaintiffs have or may have against Defendants and Releasees
                                     relating to the time they were employed by Defendants in Tip Eligible
                                     Positions at 21 Old Westbury Road, Old Westbury, NY 11568 and/or the
                                     Trump National Doral Miami during the Relevant Statutory Period,
                                     including, but in no way limited to, any alleged violation of the National
                                     Labor Relations Act, 29 U.S.C. §151 et seq.; the Fair Labor Standards Act,
                                     29 U.S.C. §201, et seq.; the Employee Retirement Income Security Act of
                                     1974, 29 U.S.C. §1001 et seq.; the Civil Rights Acts of 1964 and 1991, 42


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                                     U.S.C. §2000e et seq.; the Civil Rights Act of 1866, 42 U.S.C. §1981 et
                                     seq.; the Rehabilitation Act of 1973, 29 U.S.C. §701 et seq.; the Equal Pay
                                     Act of 1963, 29 U.S.C. §206(d); the Americans with Disabilities Act, 42
                                     U.S.C. §12101 et seq.; the Age Discrimination in Employment Act, 29
                                     U.S.C. §621 et seq.; the Older Workers Benefit Protection Act, 29 U.S.C.
                                     §621 et seq.; Worker Adjustment and Retraining Notification (WARN)
                                     Act; the Consolidated Omnibus Budget Reconciliation Act of 1985fN,
                                     I.R.C. § 4980B; the Genetic Information Nondiscrimination Act, 42
                                     U.S.C. § 2000ff; the Sarbanes-Oxley Act of 2002, 18 U.S.C. §1514A, et
                                     seq.; the Dodd-Frank Wall Street Reform and Consumer Protection Act,
                                     Pub Law. No. 111-203; the Family and Medical Leave Act, 29 U.S.C. §
                                     2601 et seq.; the Families First Coronavirus Response Act, PL 116-127;
                                     the New York Sick Leave Law; the New York Quarantine Leave Law,
                                     2020 Sess. Law of N.Y. Ch. 25 (S. 8091); the New York State Human
                                     Rights Law, New York Executive Law § 290 et seq.; the New York State
                                     Civil Rights Law, Civil Rights Law § 40 et seq.; the New York Equal Pay
                                     Law, Labor Law §§ 194-198; the New York Whistleblower Law, Labor
                                     Law §§ 740-741; Article 23-A of the New York Correction Law; the New
                                     York Paid Family Leave Benefits Law; the New York occupational safety
                                     and health laws; the New York Labor Law; the New York wage hour and
                                     wage-payment laws; the New York Wage Theft Prevention Act; The New
                                     York Hospitality Wage Order and any other applicable New York State
                                     Wage Order, and/or any other federal, state or local statute, law,
                                     ordinance, regulation or order, or the common law, or any self-regulatory
                                     organization rule or regulation. This general release includes all claims for
                                     all damages arising from any such released claims, including claims for
                                     liquidated damages, penalties, interests, and attorneys’ fees’ and costs.

                             (2)     Revocation. Plaintiffs represent that they have been advised to consult
                                     legal counsel regarding this Agreement prior to their execution of same
                                     and that they have been represented by Monteiro & Fishman, LLP.
                                     Plaintiffs each further represent that they have been provided the
                                     opportunity of at least twenty-one (21) days to consider this Agreement,
                                     and should they sign prior to the expiration of such twenty-one (21) day
                                     period they are doing so freely and voluntarily and acknowledge that (a)
                                     the benefits provided in this Agreement are available notwithstanding
                                     her/his choice to waive, or not waive this period and (b) that this waiver
                                     was not in any way coerced or compelled by any of the Releasees.

                                     (a)      Plaintiffs each acknowledge and represent that they fully
                                              understand all of the provisions of this Agreement, have had the
                                              opportunity to ask questions and are executing same freely and
                                              voluntarily.

                                     (b)      Plaintiffs each further understand that they can revoke their
                                              acceptance by communicating such revocation in writing, via e-
                                              mail, so as to be received by the Defendants’ Counsel at the


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                                              addresses set forth below within seven (7) days of her/his
                                              execution of the Agreement.

                                                      Defendants’ Counsel
                                                      Ilan Weiser, Esq. (iweiser@egsllp.com)
                                                      Lois Traub, Esq. (ltraub@egsllp.com)
                                                      Joseph Tangredi, Esq. (jtangredi@egsllp.com)

                                                      Ellenoff Grossman & Schole LLP

                                     (c)      In the event that any Plaintiff revokes their signature to the
                                              Agreement, such Plaintiff shall forfeit their entitlement to receive a
                                              Service Award pursuant to paragraph 3.3.

                     (D)     Release of Fees and Costs for Settled Matters. Class Counsel and Plaintiffs on
                             behalf of the Class and each individual Class Member and Claimant, hereby
                             irrevocably and unconditionally release, acquit, and forever discharge any claim
                             that they may have against Defendants and Releasees for attorneys’ fees or costs
                             associated with Class Counsel’s representation of the Plaintiffs, the Class, and/or
                             the Claimants in this Litigation. Class Counsel further understands and agrees that
                             any fee payments approved by the Court will be the full, final and complete
                             payment of all attorneys’ fees and costs associated with Class Counsel’s
                             representation of such individuals in this Litigation.

                     (E)     Non-Admission of Liability. By entering into this Agreement, Defendants in no
                             way admit any violation of law or any liability whatsoever to Plaintiffs, and/or the
                             Class, individually or collectively, with all such liability being expressly denied.
                             Rather, Defendants enter into this Agreement to avoid further protracted litigation
                             and to resolve and settle all disputes with Plaintiffs and the Class. Settlement of
                             the Litigation, negotiation and execution of this Agreement, and all acts
                             performed or documents executed pursuant to or in furtherance of this Agreement
                             or the settlement: (a) are not, shall not be deemed to be, and may not be used as an
                             admission or evidence of any wrongdoing or liability on the part of Defendants or
                             of the truth of any of the factual allegations in any and all Complaints filed in the
                             Litigation; and (b) are not, shall not be deemed to be, and may not be used as an
                             admission or evidence of fault or omission on the part of Defendants in any civil,
                             criminal, administrative or arbitral proceeding. The Parties understand and agree
                             that this Agreement is a settlement document and shall be inadmissible as
                             evidence in any proceeding, except an action or proceeding to approve, interpret,
                             or enforce the terms of the Agreement.

            5.       NON-DISPARAGEMENT.

                     Plaintiffs and Class Counsel agree that they will not issue or cause to be issued any press
                     release or communication to any third party and will not otherwise communicate to any
                     media or media representative, including but not limited to any electronic, print, or digital
                     media or social networking site, information regarding the Litigation. If contacted by the


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                     press or other forms of media, including but not limited to any blogs or other social media
                     websites, Plaintiffs and Class Counsel will state that “the matter has been resolved to the
                     satisfaction of all parties.” Defendants will not issue or cause to be issued a press release
                     regarding the settlement of the Litigation. If contacted by the press or media, Defendants
                     will not disparage Plaintiffs and/or Class Counsel. Notwithstanding the terms of this
                     paragraph, the Parties shall be free to make whatever disclosures they deem necessary and
                     appropriate to their attorneys, immediate family, partners, and financial and tax advisors,
                     provided those disclosures are truthful, or any disclosures required by law or court order.
                     Nothing herein shall prevent Class Counsel and Plaintiffs from communicating with Class
                     Members in order to comply with their obligations to the FLSA Class and NYLL Class. If
                     the Court finds all or part of this paragraph to be unenforceable, it shall not affect any other
                     portion of this Agreement. Notwithstanding the foregoing, each party to this Litigation and
                     their Counsel may make a truthful statement about their own experience in litigating this
                     case should it otherwise comply with this provision.

            6.       INTERPRETATION AND ENFORCEMENT.

             6.1      Cooperation Between the Parties; Further Acts. The Parties and their respective
                      counsel shall reasonably cooperate with each other and shall use their reasonable best
                      efforts to obtain the Court’s approval of this Agreement and all of its terms. Each party,
                      upon the request of any other party, agrees to perform such further acts and to execute and
                      deliver such other documents as are reasonably necessary to carry out the provisions of
                      this Agreement.

             6.2      No Assignment. Class Counsel and Plaintiffs represent and warrant that they have not
                      assigned or transferred, or purported to assign or transfer, to any person or entity, any
                      claim or any portion thereof or interest therein, including, but not limited to, any interest
                      in the Litigation, or any related action.

             6.3      Entire Agreement. This Agreement constitutes the entire agreement between the Parties
                      with regard to the subject matter contained herein, and all prior and contemporaneous
                      negotiations and understandings between the Parties shall be deemed merged into this
                      Agreement.

             6.4      Binding Effect. This Agreement is a binding agreement and contains all material agreed-
                      upon terms, subject to court approval.

             6.5      Arms’ Length Transaction; Materiality of Terms. The Parties have negotiated all the
                      terms and conditions of this Agreement at arms’ length. All terms and conditions of this
                      Agreement in the exact form set forth in this Agreement are material to this Agreement
                      and have been relied upon by the Parties in entering into this Agreement, unless otherwise
                      expressly stated.

             6.6      Captions. The captions or headings of the Sections and Paragraphs of this Agreement
                      have been inserted for convenience of reference only and shall have no effect upon the
                      construction or interpretation of any part of this Agreement.




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             6.7      Construction. The determination of the terms and conditions of this Agreement has been
                      by mutual agreement of the Parties. Each party participated jointly in the drafting of this
                      Agreement, and therefore the terms and conditions of this Agreement are not intended to
                      be, and shall not be, construed against any party by virtue of draftsmanship.

             6.8      Governing Law. This Agreement shall in all respects be interpreted, enforced and
                      governed by and under the laws of the State of New York, without regard to choice of law
                      principles, except to the extent that the law of the United States governs any matter set
                      forth herein, in which case such federal law shall govern.

             6.9      Continuing Jurisdiction. The Court shall retain jurisdiction over the enforcement,
                      interpretation and implementation of this Agreement as well as any and all matters arising
                      out of, or related to, the enforcement, interpretation or implementation of this Agreement
                      and of the settlement contemplated thereby. The Court shall not have jurisdiction or
                      authority to modify the terms of the Agreement or to increase Defendants’ payment
                      obligations hereunder.

             6.10     Severability. If any provision of this Agreement is held by a court of competent
                      jurisdiction to be void, voidable, unlawful or unenforceable, the remaining portions of this
                      Agreement will remain in full force and effect, and the parties will make all reasonable
                      efforts to renegotiate the provision(s) held void, voidable, unlawful or unenforceable, and
                      enter into a new Agreement on terms similar to those herein so that such provision(s) will
                      be upheld.

             6.11     Remedies for Breach. Should any party breach the terms of this Agreement as
                      determined by the Court which retains jurisdiction over enforcement of this Agreement,
                      the non-breaching party shall be entitled, in addition to any other legal and equitable
                      remedies which may be available, to recover all costs and attorneys’ fees incurred by such
                      non-breaching party in enforcing the terms of this Agreement.

             6.12     Waivers, etc. to Be in Writing. No waiver, modification or amendment of the terms of
                      this Agreement, whether purportedly made before or after the Court’s approval of this
                      Agreement, shall be valid or binding unless in writing, signed by or on behalf of all Parties
                      and then only to the extent set forth in such written waiver, modification or amendment,
                      subject to any required Court approval. Any failure by any party to insist upon the strict
                      performance by the other party of any of the provisions of this Agreement shall not be
                      deemed a waiver of future performance of the same provisions or of any of the other
                      provisions of this Agreement, and such party, notwithstanding such failure, shall have the
                      right thereafter to insist upon the specific performance of any and all of the provisions of
                      this Agreement.

             6.13     When Agreement Becomes Effective; Counterparts. Subject to Court-approval, this
                      Agreement shall become effective upon its full execution. The Parties may execute this
                      Agreement in counterparts, and execution in counterparts shall have the same force and
                      effect as if all Parties had signed the same instrument.




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             6.14     Signatures. This Agreement is valid and binding if signed by all the Defendants and
                      Plaintiffs.

             6.15     Facsimile, Electronic, and Email Signatures. Any signature made or electronically
                      made and/or transmitted by facsimile or email for the purpose of executing this Agreement
                      shall be deemed an original signature for purposes of this Agreement and shall be binding
                      upon the party whose counsel transmits the signature page by facsimile or email.




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               PLAINTIFFS:
                                                                   ~
               May 12, 2022                            By: Ra kin Subhan (May 12, 2022 05:11 GMT +9)
               Date                                          RAKIN SUBHAN




                                                       By: _ _ _ _ __ _ _ _ __
               Date                                         MOINMAHBUB




                                                       By: - - - - -- - - - - - -
               Date                                        DAV ID KAY



                                                       By: _ _ _ _ _ _ _ _ _ _ __
               Date                                        ASHLEY CLEA TOR



                                                      By: _ _ _ _ _ _ _ _ _ _ __
               Date                                       JAMES HICKS




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               PLAINTIFFS:


                                                       By: _ __ _ __ _ _ _ __
               Date                                          RAKIN SUBHAN


                                                               /lJ.Af ~1,J
                May 11, 2022                           By: Moin mahb~ b (May 11, 202215:59 EDT)
               Date                                           MOINMAHBUB




                                                       By: _ _ __ _ _ __ _ __
               Date                                        DAVID KAY



                                                       By: - - - --     - -- - --
               Date                                          ASHLEY CLEA TOR



                                                       By: _ _ _ __ _        _ _ _ __
               Date                                        JAMES HICKS




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               PLAINTIFFS:


                                                      By: _ _ _ _ _ _ __ _ _ __
               Date                                       RAKIN SUBHAN




                                                       By: _ _ __ _ __ _ _ _ __
               Date                                          MOIN MAHBUB




               May 12, 2022                           By: David kay (Ma
               Date                                          DAVID KAY



                                                      By: _ _ _ _ _ _ _ _ _ _ __
               Date                                          ASHLEY CLEA TOR



                                                      By:-- -- - - - - - - - -
               Date                                     JAMES HICKS




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               PLAINTIFFS:


                                                       By: _ _ __ _ _ _ _ _ _ __
               Date                                         RAKIN SUBHAN




                                                       By: _ _ _ _ _ _ _ _ _ _ __
               Date                                          MOINMAHBUB




                                                       By: _ _ _ _ _ _ __ _ _ __
               Date                                        DAVID KAY


               May 11, 2022                                 Ashley cl ator May 11, 2022 16:21 EDT)
                                                       B y: - - - -- - - - - -- -
               Date                                          ASHLEY CLEA TOR



                                                       By: _ __ __ _ _ _ _ _ __
               Date                                        JAMES HICKS




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               PLAINTIFFS:


                                                       By:
                                                             ------------
               Date                                          RAK IN SUBHAN




                                                       By: _ _ _ _ _ _ _ _ _ __
               Date                                         MOINMAHBUB




                                                       By: _ __ _ __ __ _ __                   _
               Date                                          DAVID KAY



                                                       By: _ _ _ _ _ _ _ _ _ __
               Date                                          ASHLEY CLEATOR



               May 11, 2022                            By:James R Hicks (May 11, 2022 16:29 EDT)
               Date                                          JAMES HICKS




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            DEFENDANTS

                                                             SIMON AUERBACHER

            5/12/2022
            _______________________                    By: _______________________________
            Date                                           SIMON AUERBACHER
                                                           Title: SA

                                                             RAM DESTINATIONS MIAMI, LLC
            5/12/2022
            _______________________                    By: _______________________________
            Date                                           Name : Simon Auerbacher
                                                           Title: SA

                                                             RAM CATERERS OF OLD WESTBURY LLC
            5/12/2022
            _______________________                    By: _______________________________
            Date                                           Name : Simon Auerbacher
                                                           Title: SA




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                                          EXHIBIT A




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                    COVER LETTER (to be sent on Settlement Claims Administrator letterhead)
            DATE


            NAME
            ADDRESS
            CITY, STATE ZIP CODE


                     Re:     NOTICE OF CLASS ACTION SETTLEMENT
                             (Subhan, et al v. Auerbacher, et al, No. 20-cv-5541)

            Dear [NAME],

                    According to Defendants’ records, you were employed by Defendants in a tip-eligible
            position at 21 Old Westbury Road, Old Westbury, NY 11568 and/or the Trump National Doral
            Miami during the time period covered by a class action lawsuit for unpaid wages/gratuities. A tip
            eligible positions means bar staff, captains who provide direct food service to customers, coat
            check attendants, hosts, and wait staff. The Parties have reached a settlement in that lawsuit under
            which you are eligible to receive a portion of the settlement. Enclosed herein is a Court approved
            Notice, Claim Form, Form W-4 and Form W-9. In order to receive payment under the settlement,
            you must sign the three enclosed forms entitled “CLASS MEMBER CLAIM FORM” and
            “SUBSTITUTE FORM W-9 REQUEST FOR TAXPAYER IDENTIFICATION NUMBER” and
            “SUBSTITUTE FORM W-4 FOR TAXPAYER IDENTIFICATION NUMBER.” You will not
            receive money from the settlement unless you submit a Claim Form, IRS Form W-4, and IRS Form
            W-9 by [DATE]. In order to receive your settlement amount, these forms must be mailed to the
            address listed in the Claims Form.

                    For full information about the settlement and how to claim your share of the settlement,
            please contact the plaintiffs’ attorney Marcus Monteiro, Monteiro & Fishman LLP, at (516) 280-
            4600.

                                                                         Sincerely,
                                                                         [Settlement Claims Administrator]




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                       NOTICE OF PROPOSED CLASS ACTION LAWSUIT SETTLEMENT
                                      AND FAIRNESS HEARING

            6.16     TO: PERSONS WHO WERE EMPLOYED BY DEFENDANTS IN TIP-ELIGIBLE
                     POSITIONS AT 21 OLD WESTBURY ROAD, OLD WESTBURY ROAD, NY 11568
                     AND/OR THE TRUMP NATIONAL DORAL MIAMI BETWEEN NOVEMBER 14,
                     2014 AND [DATE OF PRELIMINARY APPROVAL]. TIP ELIGIBLE POSITIONS
                     MEANS BAR STAFF, CAPTAINS WHO PROVIDE DIRECT FOOD SERVICE TO
                     CUSTOMERS, COAT CHECK ATTENDANTS, HOSTS, AND WAIT STAFF.


            Based on information from Defendants, you were employed by Defendants in a tip-eligible
            position at 21 Old Westbury Road, Old Westbury, NY 11568 and/or the Trump National Doral
            Miami between November 14, 2014 and [DATE OF PRELIMINARY APPROVAL] and are
            entitled to participate in the proposed settlement of the case captioned Subhan, et al v. Auerbacher,
            et al, No. 20-cv-5541 (E.D.N.Y.) (the “Lawsuit”). The Lawsuit was brought by Rakin Subhan,
            Moin Mahbub, David Kay, and Ashley Cleator against Simon Auerbacher, Ram Destinations
            Miami LLC, and Ram Caterers of Old Westbury LLC (collectively “Defendants”).

            Under the terms of the settlement, you may claim money under the Settlement. A claim form is
            enclosed with this notice. You will receive money from this settlement only if you return the
            attached claim form and valid and fully executed IRS Forms W-4 and W-9 to the claims
            administrator on or before [INSERT DATE].

            Your legal rights are affected whether you act, or don’t act. Please read this notice carefully.

            Your rights and options – and the deadlines to exercise them – are explained in this Notice.

            The Court in charge of this case still has to decide whether to approve the settlement. Payments
            will be made if the Court approves the settlement and after any appeals are resolved. Please be
            patient.

                                      1. WHAT IS THE PURPOSE OF THIS NOTICE?

            PLEASE READ THIS NOTICE CAREFULLY. It contains important information about your
            rights concerning the settlement of the Lawsuit. If the Court approves the Settlement Agreement,
            each Class Member will be bound by its terms unless he/she affirmatively opts-out of the
            Settlement Agreement.

            The Court has ordered that this Notice be sent to you to inform you of your rights under the
            Settlement Agreement resolving the Lawsuit.

                                               2. WHAT IS THIS CASE ABOUT?

            The Lawsuit asserts claims under the Fair Labor Standards Act (“FLSA”) and New York Labor
            Law (“NYLL”) alleging that Defendants failed to properly pay employees in tip eligible positions



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            for all overtime hours, the applicable minimum wage rate, and spread of hours. The Lawsuit also
            alleges that employees were not provided with the appropriate wage notices and wage statements
            that Defendants were required to provide them with. Finally, the Lawsuit alleges that Defendants
            misappropriated portions of employees’ tips.

            DEFENDANTS DENY THESE ALLEGATIONS IN THEIR ENTIRETY AND MAINTAIN
            THAT ALL TIP-ELIGIBLE EMPLOYEES WERE PAID PROPERLY AND RECEIVED
            ALL MONIES OWED. The Parties have entered into this Settlement Agreement solely with the
            intention to avoid further disputes and litigation with the attendant inconvenience and expense.
            The Court has not made any ruling on the merits of the claims in the Lawsuit, and no party has
            prevailed in this action.

                                         3. WHO IS INCLUDED IN THE CLASS?

            The Parties have agreed to settle the Lawsuit for a class consisting of all individuals employed by
            Defendants in tip-eligible positions at 21 Old Westbury Road, Old Westbury, NY 11568 and/or
            the Trump National Doral Miami between November 14, 2014 and [THE DATE OF
            PRELIMINARY APPROVAL] (“Class Members”). You have received this notice because Ram
            Caterers has identified you as a Class Member based on their records.

                 4. HOW WILL MY SHARE OF THE SETTLEMENT FUND BE CALCULATED?

            If the Settlement Agreement is given final approval by the Court, Defendants will pay up to a
            maximum of $1,325,000.00 in total settlement funds. If the Court also approves the payments set
            forth below, the following payments and expenses will be deducted from the $1,325,000.00 prior
            to distribution of the settlement funds to Claimants:

                     1.      Attorneys’ Fees and Costs: Class Counsel will apply to the Court for recovery of
                             costs and attorneys’ fees of one-third of the Settlement Fund after deducting their
                             costs. This amount will be requested pursuant to the Plaintiffs’ professional
                             services agreement.

                     2.      Service Awards: If the Court approves such payments, $6,000 will be paid to each
                             of the Named Plaintiffs and Opt-in Plaintiff.

                     3.      Claims Administrator Costs: Class Counsel will apply to the Court for recovery of
                             all costs of administration of this settlement.

                     4.      If the Court approves the payments listed above, the remaining Settlement Fund
                             (the “Net Settlement Fund”) will be allocated to Class Members based on the
                             amount of hours they worked in tip-eligible positions between November 14, 2014
                             and [THE DATE OF PRELIMINARY APPROVAL].

                     •       No Class Member will be allocated a settlement share that is less than $30.

                     •       Once checks are issued they will be valid for only 90 days.


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                     •       For more information about how individual settlement awards are calculated, you
                             may contact Class Counsel, Marcus Monteiro at Monteiro & Fishman LLP, at 91
                             N. Franklin Street, Suite 108, Hempstead, NY 11550 at 516-280-4600.

                     •       If you do nothing, you will remain part of the case, not receive payment and still be
                             bound by the terms of this Settlement Agreement.

                          5. HOW CAN I COLLECT MY SHARE OF THE SETTLEMENT?

            In order to collect your share of the settlement, you must fill out the enclosed Claim Form, IRS
            Form W-4, and IRS Form W-9. If you do not fill out a Claim Form or do not provide an IRS Form
            W-4, and IRS Form W-9, you will not receive any money from this settlement. Attached to this
            Notice is a Claim Form, IRS Form W-4, and IRS Form W-9 which you must fill out and mail,
            postmarked on or before _________________,_______ , to:

                                             CLAIMS ADMINISTRATOR’S INFO

            Defendants cannot retaliate against you for participating in this Settlement and/or filing a Claim
            Form.

            It is your responsibility to retain proof of timely mailing or submission of a Claim Form, IRS Form
            W-4, and IRS Form W-9 until receipt of your settlement payment. If you move, you must send
            the Claims Administrator your new address. It is your responsibility alone to provide a forwarding
            address to the United States Post Office and your current address to the Claims Administrator.

            If you are found eligible to participate in the Settlement, you should not expect to receive any
            payment until the Settlement is final, which will likely be several months away.

                             6. WHAT IS THE LEGAL EFFECT OF THE SETTLEMENT?

            Upon the Order granting Final Approval, and except as to such rights or claims as may be created
            by this Agreement, each Participating Class Member, on his or her behalf, and on behalf of his or
            her respective current, former, and future heirs, spouses, executors, administrators, agents, and
            attorneys, fully releases and discharges Defendants, and all of their insurers, affiliates, subsidiaries,
            and related entities, and all of their past, present and future officers, directors, shareholders,
            owners, employees, agents, attorneys and assigns, specifically including but not limited to, Debra
            Auerbacher, Kenneth Grief, William Kohane, VIP & RAM Passover, LLC, Ram Destinations
            LLC, Simply Ram LLC, C&I Consulting, and RCOP 2 LLC (collectively, the “Releasees”) from
            any claims under the New York Labor Law, New York Wage Theft Prevention Act, the New York
            State Hospitality Wage Order and/or any applicable New York State Wage Order, including but
            not limited to claims for unpaid wages, overtime pay, unpaid tips, unpaid purported gratuities,
            failure to maintain and furnish employees with proper wage records, paystubs, notices, interest,
            liquidated damages, and attorneys’ fees and costs related to such claims, and all other claims that
            were or could have been asserted in the Litigation under New York Labor Law, New York Wage
            Theft Prevention Act, the New York State Hospitality Wage Order, and/or any applicable New


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            York State Wage Order whether known or unknown, through the date of this Agreement is
            preliminarily approved by the Court, for the time they were employed by Defendants in tip eligible
            positions at 21 Old Westbury Road, Old Westbury, NY 11568 and/or the Trump National Doral
            Miami during the Relevant Statutory Period.

            In addition, if you sign and return a Claim Form that is accepted pursuant to this Settlement, you,
            on your own behalf, and on behalf of your respective current, former and future heirs, spouses,
            executors, administrators, agents, and attorneys, forever and fully releases Defendants and
            Releasees from any FLSA claims relating to the time you were employed by Defendants in tip
            eligible positions at 21 Old Westbury Road, Old Westbury, NY 11568 and/or the Trump National
            Doral Miami during the Relevant Statutory Period, including claims for unpaid wages and/or
            overtime wages, unpaid tips, unpaid purported tips, liquidated damages, and attorneys’ fees and
            costs related to such claims, that were or could have been asserted in the Litigation, whether known
            or unknown, through the date you sign a Claim form.

                               7. HOW DO I OPT OUT OF THE SETTLEMENT CLASS?

            You have the option of opting-out of the Settlement Agreement if you do not want to participate
            in the Settlement or be bound by the release of claims described above. To opt-out of the
            Settlement Agreement you must do so by _____________________. If you do not opt out, you
            will be bound by the terms of the Settlement Agreement. To opt out, you must mail a signed letter
            which specifically states, “I elect to exclude myself from the settlement in Subhan, et al. v.
            Auerbacher, et al., Case No. 20-cv-05541” postmarked no later than ______________. You must
            include your name and address in the letter. If you choose to opt out, send your letter to:

                                                 [CLAIMS ADMINISTRATOR]

                           8. WHAT IF I HAVE AN OBJECTION TO THE SETTLEMENT?

            If you have not opted out of the Settlement, and if you wish to present objections to the proposed
            settlement at the Fairness Hearing, you must first do so in writing. You are not required to submit
            an objection. Written objections must be postmarked no later than ______________ and sent to:

                                                 [CLAIMS ADMINISTRATOR]

            Written objections must contain your name and address, must be signed by you, and must include
            reference to the matter of Subhan, et al. v. Auerbacher, et al., Case No. 20-cv-05541. If you opt-
            out of the settlement, you may not also object to the settlement.

                                         9. WHEN IS THE FAIRNESS HEARING?

            A hearing before Magistrate Judge Anne Y. Shields will be held on ________________________
            at ______ at the United States District Court for the Eastern District of New York, 100 Federal
            Plaza, Central Islip, New York 11722 (the “Fairness Hearing”). The purpose of this hearing will
            be for the Court to determine whether the Settlement Agreement is fair, adequate, and reasonable
            and should be approved by the Court. The Court will take into account any comments or objections
            filed in accordance with the procedures described above.


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                                    10. HOW CAN I EXAMINE COURT RECORDS?

            This Notice does not contain all of the terms of the proposed Settlement or all of the details of
            these proceedings. For more detailed information, you are advised to refer to the underlying
            documents and papers on file with the Court.

            Additionally, if you have questions about this Notice or want additional information, you can
            contact Marcus Monteiro at Monteiro & Fishman LLP, at 516-280-4600 or the Claims
            Administrator at the address/phone number listed above.




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                                          EXHIBIT B




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                                              CLASS MEMBER CLAIM FORM
                                   Subhan, et al. v. Auerbacher, et al., Case No. 20-cv-5541
            To share in the settlement, you must complete, sign and return this claim form and the enclosed
            IRS Form W-4 and IRS Form W-9. You will not receive any payment from the settlement unless
            you submit this claim form, the IRS Form W-4, and the IRS Form W-9. The claim form must be
            postmarked no later than ____________, ____

                                                             MAIL TO:
                                               Subhan, et al. v. Auerbacher, et al.
                                                 [CLAIMS ADMINISTRATOR]
                                                    [ADDRESS / PHONE/]

                                                            .
            The records of Defendants indicate that you were employed by Defendants in a tip eligible position
            at 21 Old Westbury Road, Old Westbury, NY 11568 and/or the Trump National Doral Miami
            between November 14, 2014 and [THE DATE OF PRELIMINARY APPROVAL]. Based on the
            hours you worked according to Defendants’ records, your estimated Individual Settlement Amount
            is approximately ______________. Please note that this is just an estimate and is subject to
            change.

            By signing and returning this form and the enclosed IRS Form W-4 and IRS Form W-9, you are
            claiming your Individual Settlement Amount and opting-in to the above-captioned lawsuit brought
            to recover monies under the Fair Labor Standards Act and New York Labor Law.
            By signing and returning this form, the IRS Form W-4, and the IRS Form W-9, you acknowledge
            that you are releasing claims against Defendants and Releasees, as set forth in greater detail in the
            Notice of Settlement.
              Date:
                                                              (Sign your name here)

                                                                   CORRECTIONS OR ADDITIONAL INFORMATION
                                                               Write any name and address corrections below if any is
                                                               necessary OR if there is no preprinted data to the left, please
                                                               provide your name and address here:




              Daytime Telephone Number:                            Evening Telephone Number:




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                                   SUBSTITUTE FORM W-9 REQUEST FOR TAXPAYER
                                    IDENTIFICATION NUMBER AND CERTIFICATION

            In order to satisfy your tax reporting obligations related to any payment you may receive for the
            Subhan, et al v. Auerbacher et al. settlement to the IRS, please complete and return this Substitute
            IRS Form W-9 to the Third Party Administrator at the address listed above no later than
            ____________, ____.

            Thank you,
            [Third Party Administrator]

                                               TAXPAYER IDENTIFICATION NUMBER



      Name (as shown on your income tax return): ____________________________________________________


      Exempt payee code (if any)______________ Exemption from FATCA reporting code (if any)_____________


      Enter your social security number: _____ _____ _____ - _____ _____ - _____ _____ _____ _____

      CERTIFICATION

      Under penalties of perjury, I certify that:

      1.       The number shown on this form is my correct taxpayer identification number (or I am waiting for a
               number to be issued to me); and

      2.       I am not subject to backup withholdings because: (a) I am exempt from backup withholdings, or (b) I
               have not been notified by the Internal Revenue Service (IRS) that I am subject to backup withholdings
               as a result of failure to report all interest or dividends, or (c) the IRS has notified me that I am no longer
               subject to backup withholdings, and

      3.       I am a U.S. person (including a U.S. resident alien), and

      4.       The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting
               is correct

               ___________________________________                                           _________________________
               W-9 Signature                                                                 W-9 Signature Date

        Note: If you have been notified by the IRS that you are subject to backup withholdings, you must cross out item two above. The IRS does not
        require your consent to any provision of this document other than this Form W-9 certification to avoid backup withholdings.




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                                   SUBSTITUTE FORM W-4 REQUEST FOR TAXPAYER
                                    IDENTIFICATION NUMBER AND CERTIFICATION

            In order to satisfy your tax reporting obligations to the IRS related to any payment you may receive
            under the Subhan, et al v. Auerbacher., et al, Case No. 20-cv-5541 settlement , please complete
            and return this Substitute IRS Form W-4 to the Third Party Administrator at the address listed
            above no later than ____________, ____.

            Thank you,
            [Third Party Administrator]


                                               TAXPAYER IDENTIFICATION NUMBER



      Name (as shown on your income tax return): ____________________________________________________


      Exempt payee code (if any)______________ Exemption from FATCA reporting code (if any)_____________


      Enter your social security number: _____ _____ _____ - _____ _____ - _____ _____ _____ _____

      CERTIFICATION

      Under penalties of perjury, I certify that:

               The number shown on this form is my correct taxpayer identification number (or I am waiting for a
               number to be issued to me); and

               I am not subject to backup withholdings because: (a) I am exempt from backup withholdings, or (b) I
               have not been notified by the Internal Revenue Service (IRS) that I am subject to backup withholdings
               as a result of the failure to report all interest or dividends, or (c) the IRS has notified me that I am no
               longer subject to backup withholdings, and

               The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting
               is correct

               ___________________________________                                           _________________________
               W-4 Signature                                                                 W-4 Signature Date

        Note: If you have been notified by the IRS that you are subject to backup withholdings, you must cross out item two above. The IRS does not
        require your consent to any provision of this document other than this Form W-4 certification to avoid backup withholdings.




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